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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA                        FILED
                           MISSOULA DIVISION                                SEP 2 7 2019
                                                                        Clerk, U S District Court
                                                                          District Of Montana
                                                                                Missoula


 UNITED STATES OF AMERICA,
                                                    CR 18-5-M-DLC
                       Plaintiff,

        vs.                                          ORDER

 CHRISTOPHER GEORGE
 NOMURA,

                       Defendant.

      Before the Court is the United States' Unopposed Motion for Leave to File

Under Seal a motion and proposed order, pursuant to L.R. CR 49.1. (Doc. 73.)

Good cause appears to support the Motion.

      Accordingly, it is ORDERED that the Motion (Doc. 73) is GRANTED. The

United States' motion and proposed protective order currently lodged at Document

74 shall be filed under seal.

      Dated this Z-::/ 4',,day of September, 2




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                                         Dana L. Christensen, Chief Judge
                                         United States District Court




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